
USCA1 Opinion

	










          March 27, 1996    UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                    _____________
                                    _____________

          No.  95-1105

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                 AEDAN C. MCCARTHY, 
                                Defendant, Appellant.

          No. 95-1106

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                JEFFREY SCOTT HUNTER,
                                Defendant, Appellant.

                                       ________


                                     ERRATA SHEET


               It is ordered  that pages  6-7 of the  opinion, released  on
          February  26,  1996,  are   modified  to  include  the  following
          underlined  language and  the  footnotes shall  be renumbered  as
          indicated:


                    Following  his  release, Hunter  remained the
                    focus of the Franklin  robbery investigation.
                    The  investigation   involved  a  cooperative
                    effort between the Connecticut  State Police,
                    the Federal Bureau of  Investigation ("FBI"),
                    and, ultimately, law enforcement officials in
                    Alabama and Maine.   During the course of the
                                         ________________________
                    investigation,   James   Hall2
                                                    revealed   to
                    _____________________________________________
                    investigators that Hunter's friend "John" had
                    _____________________________________________
                    recently   replaced   his  Alabama   driver's
                    _____________________________________________
                    license  with a  Connecticut  license in  the
                    _____________________________________________
                    name   of  John  E.   Perry.    Investigators
                    ____________________________
                              
          ____________________

               2Investigators also  learned that James Hall  is the brother
          of  Lance Hall,  the person  who rented  the Sunbird  for Hunter.
          Neither James  nor Lance Hall were  involved, in any way,  in the
          Franklin robbery.














                    subsequently  learned that  the real  John E.
                    ____________
                    Perry had  lost his Alabama  license prior to
                    the  Franklin bank robbery  and that McCarthy
                    had  used  the alias  John  Perry in  Florida
                    following an arrest  there.3   The real  John
                    E.  Perry, who  lived in  Alabama, identified
                                                       __________
                    McCarthy as James Hardiman, an individual who
                    _____________________________________________
                    had  been  involved  with  his  former  wife.
                    _____________________________________________
                    Investigators  also  learned  that, in  1991,
                    Hunter and McCarthy  had spent time  together
                    as cellmates in a Connecticut state prison. 





































                              
          ____________________

               3James Hall  initially told investigators  that a photograph
                ___________________________________________________________
          of  the real  John  Perry resembled  the  individual he  knew  as
          _________________________________________________________________
          Hunter's  friend "John."   Following McCarthy's  arrest, however,
          _________________________________________________________________
          James Hall identified McCarthy as Hunter's friend "John."
          _________________________________________________________
















                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________

        No. 95-1105

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                  AEDAN C. MCCARTHY,
                                Defendant, Appellant,

        No. 95-1106

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                JEFFREY SCOTT HUNTER,
                                Defendant, Appellant.
                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE
                     [Hon. D. Brock Hornby, U.S. District Judge]
                                            ___________________
                                 ____________________

                                        Before

                                 Stahl, Circuit Judge,
                                        _____________
                           Campbell, Senior Circuit Judge,
                                     ____________________
                              and Lynch, Circuit Judge.
                                         _____________
                                 ____________________

            Brian L.  Champion with whom Friedman  &amp; Babcock was  on brief for
            __________________           ___________________
        appellant Aedan C. McCarthy.
            Henry W. Griffin for appellant Jeffrey Scott Hunter.
            ________________
            Margaret  D. McGaughey,  Assistant  United States  Attorney,  with
            ______________________
        whom  Jay  P.  McCloskey,  United States  Attorney,  and  Jonathan  R.
              __________________                                  ____________
        Chapman, Assistant United States Attorney, were on brief for appellee.
        _______
                                 ____________________

                                  February 26, 1996
                                 ____________________


                      STAHL, Circuit Judge.  Following a three-day trial,
                      STAHL, Circuit Judge.
                             _____________

            a jury convicted defendants  Aedan McCarthy and Jeffrey Scott















            Hunter  of  various charges  stemming from  a series  of bank

            robberies  in Alabama,  Connecticut  and Maine.   On  appeal,

            McCarthy and Hunter challenge the district court's refusal to

            grant their respective  suppression motions.   In particular,

            Hunter challenges  the district  court's failure to  suppress

            evidence  produced as  the  result of  an investigatory  stop

            following the Connecticut robbery.   McCarthy and Hunter also

            raise several  challenges to their sentences.   After careful

            review, we affirm.

                                          I.
                                          I.
                                          __

                                      Background
                                      Background
                                      __________

                      In reviewing a district  court's denial of  motions

            to suppress, we  recite the  facts as found  by the  district

            court  to the extent that they derive support from the record

            and are not clearly  erroneous.  See, e.g., United  States v.
                                             ___  ____  ______________

            Sealey,  30  F.3d  7, 8  (1st  Cir.  1994).   Where  specific
            ______

            findings  are lacking, we view  the record in  the light most

            favorable  to  the ruling,  making  all reasonably  supported

            inferences.  See United  States v. Kimball, 25 F.3d 1, 3 (1st
                         ___ ______________    _______

            Cir.  1994); United States v. Sanchez, 943 F.2d 110, 112 (1st
                         _____________    _______

            Cir. 1991).

            A.  Hunter's Connecticut Detention
            __________________________________

                      On July 6, 1992, around 1:45 p.m., two men robbed a

            bank  in Franklin,  Connecticut.   Each  man wore  a plastic,

            Halloween-type mask,  covering his entire face,  and each was



                                         -3-
                                          3















            armed,  one with a pump-action  shotgun and the  other with a

            semi-automatic pistol.  The man carrying the shotgun stood in

            the bank's  lobby, issuing commands, while  the other vaulted

            the  teller's counter and collected the money.  They fled the

            bank in a light-blue GMC Jimmy truck.

                      A short  time later,  the Connecticut  State Police

            located the truck,  abandoned in an industrial park less than

            a mile from the  bank.  Witnesses reported that a red Pontiac

            Sunbird bearing Rhode Island license plates recently had been

            parked near the spot where the abandoned GMC Jimmy was found.

            Subsequently,  the police  issued an updated  radio bulletin,

            indicating  that the  two suspects  were now  believed to  be

            travelling in the red Pontiac Sunbird.

                      About  2:30 p.m.,  Officer  Arthur  Richard of  the

            Norwich  Police  Department  spotted  a red  Pontiac  Sunbird

            bearing Rhode Island license plates at a gas station, not far

            from Franklin.   Officer Richard reported  the sighting, and,

            after the car  left the  station, stopped the  vehicle as  it

            prepared  to enter  an interstate  highway.   Officer Richard

            ordered  the driver out of  the Sunbird, patted  him down for

            weapons and  directed him to take  a seat in the  back of his

            police  cruiser.   The  police cruiser's  internal rear  door

            handles  were not functional and  a plastic spit  guard and a

            wire cage  separated  its  rear  and front  seats.    Officer

            Richard did not handcuff the driver.



                                         -4-
                                          4















                      In response to  Officer Richard's questioning,  the

            driver identified himself  as Hunter.  Officer Richard  ran a

            registration check  on the  Sunbird and  learned that  it was

            registered to  a rental  agency  at a  Rhode Island  airport.

            Hunter told Richard  that a friend had  rented the automobile

            for  him because  his  own car  was  under repair.    Hunter,

            however, refused to identify the friend.

                      Within  minutes,  several  other  police  officers,

            including Connecticut  State  Troopers Jerry  Hall and  Louis

            Heller, arrived on the  scene.  Trooper Hall spoke  to Hunter

            through  the open rear door of Richard's cruiser and detected

            alcohol on Hunter's  breath.  Hunter admitted  drinking a few

            beers with a friend, but declined to identify the friend.  At

            Hall's request, Hunter  took a field sobriety  test, which he

            passed.

                      About 2:43 p.m., Trooper Hall advised Hunter of his

            Miranda  rights and informed  him that,  although he  was not
            _______

            under   arrest,  he  was  being  detained  for  investigative

            purposes.  Hunter  stated that he  understood his rights  and

            waived them,  but nonetheless  declined to say  where he  had

            been  since 1:00 p.m., stating  only that he  had been with a

            "Born-Again-Christian" friend.   At some point, Trooper  Hall

            explained that  the officers  were detaining him  because his

            Pontiac  Sunbird matched  identically  the description  of  a

            vehicle involved in  a bank robbery that had occurred earlier



                                         -5-
                                          5















            that  day.    Trooper   Hall  continued  to  question  Hunter

            intermittently for  about  forty-five minutes.   During  that

            time,  other officers  drove a  teller from  the bank  by the

            cruiser in an unsuccessful attempt to identify Hunter as  one

            of  the  robbers.    In addition,  Trooper  Hall  took  three

            Polaroid photographs of Hunter.

                      Meanwhile, Trooper Heller  learned that the  agency

            registered as the owner of the Pontiac Sunbird had rented the

            vehicle to Lance Hall,  a black male, who had  listed Hunter,

            who  is  white,  on the  rental  agreement  as a  co-driver.1

            After receiving this information, Heller went to a nearby bar

            and  questioned patrons  in an  attempt to  determine whether

            Hunter  and another  individual  had  stopped there  earlier.

            Upon  returning to  the police  cruiser in  which Hunter  was

            still being  detained, Trooper  Heller asked Hunter  where he

            had  been prior to the stop.   Hunter replied that he had not

            been anywhere near Franklin, but instead had spent the day at

            a  friend's place in the woods.  Hunter, however, claimed not

            to  remember  his  friend's  name  nor where  the  place  was

            located.  On  the basis  of the information  he had  obtained

            from the rental car agency,  Trooper Heller then asked Hunter

            if his friend was  black.  With this question,  Hunter became


                                
            ____________________

            1.  Trooper  Heller  obtained Lance  Hall's  driver's license
            number from  the  rental  agency.   He  obtained  a  physical
            description of Hall  after requesting a check on  the license
            with the Connecticut State Police.

                                         -6-
                                          6















            agitated,  swore  at  Heller,  and, while  gesturing  in  one

            general  direction, told him to  find out for  himself.  This

            occurred about 3:45  p.m., approximately seventy-five minutes

            after Officer Richard initially stopped Hunter.

                      Trooper Heller  knew the area well  and could think

            of only one  black male  living in the  general direction  in

            which  Hunter had  gestured.    Consequently, Trooper  Heller

            drove to that person's house and inquired  whether Hunter had

            visited earlier that day.  The black male living at the house

            identified himself as James  Hall and stated that  Hunter had

            been there with another  man named John.  According  to James

            Hall, Hunter and John had borrowed James Hall's truck earlier

            in the day and had  later returned to Hall's house  to change

            their  clothes.    After   interviewing  James  Hall,  Heller

            returned  to where  Hunter  was being  detained and,  at 4:43

            p.m., Hunter was released.  

            B.  The Ensuing Investigation
            _____________________________

                      Following his release, Hunter remained the focus of

            the   Franklin  robbery  investigation.    The  investigation

            involved a  cooperative effort between the  Connecticut State

            Police,  the Federal  Bureau of  Investigation ("FBI"),  and,

            ultimately, law enforcement  officials in Alabama and  Maine.

            During the course of  the investigation, James Hall2 revealed

                                
            ____________________

            2.  Investigators also learned that James Hall is the brother
            of  Lance Hall, the person who rented the Sunbird for Hunter.
            Neither  James nor Lance Hall  were involved, in  any way, in

                                         -7-
                                          7















            to  investigators  that Hunter's  friend "John"  had recently

            replaced his  Alabama  driver's license  with  a  Connecticut

            license  in  the  name  of  John  E.  Perry.    Investigators

            subsequently learned that the real John E. Perry had lost his

            Alabama license prior  to the Franklin bank  robbery and that

            McCarthy  had used the alias John  Perry in Florida following

            an  arrest there.3   The  real  John E.  Perry, who  lived in

            Alabama, identified McCarthy as James Hardiman, an individual

            who had  been involved with  his former wife.   Investigators

            also learned that,  in 1991,  Hunter and  McCarthy had  spent

            time together as cellmates in a Connecticut state prison.

                      As   the   investigation  progressed,   Connecticut

            authorities  apprised   FBI  agents  in  Alabama,   who  were

            investigating a series of  similar Alabama bank robberies, of

            the events surrounding  the Franklin  robbery.   Accordingly,

            McCarthy and Hunter became suspects in the Alabama robberies.

            In early 1993, Alabama FBI Agent Marshall Ridlehoover learned

            that McCarthy and Hunter  might be living in Chilton  County,

            Alabama.    Agent  Ridlehoover  alerted  the  Chilton  County

            Sheriff's  Department that  the two  men  were suspects  in a

            series of bank robberies in  Alabama and Connecticut and sent

                                
            ____________________

            the Franklin robbery.

            3.  James Hall initially told investigators that a photograph
            of  the real John Perry  resembled the individual  he knew as
            Hunter's  friend   "John".    Following   McCarthy's  arrest,
            however, James  Hall identified McCarthy  as Hunter's  friend
            "John".

                                         -8-
                                          8















            the   department  photographs   of   McCarthy   and   Hunter.

            Initially,  Ridlehoover  told  the  Chilton  County Sheriff's

            Department that the FBI wanted to have the two men kept under

            surveillance.      Subsequently,  Ridlehoover   informed  the

            Sheriff's  Department  that  a  federal  arrest  warrant  for

            unlawful flight from prosecution had been issued for Hunter.

            C.  Alabama Arrests of Hunter and McCarthy
            __________________________________________

                      While driving to work on  the morning of April  23,

            1993,  Deputy Wayne  Fulmer,  assistant chief  deputy of  the

            Chilton County  Sheriff's Department, noticed  a pickup truck

            bearing  Maine license plates.  Because the presence of Maine

            plates in Chilton County struck  Fulmer as rather unusual, he

            ran a registration check on the truck and discovered that the

            truck was registered to a John E. Perry.  Fulmer knew at this

            time that  FBI investigators  were looking for  an individual

            using the alias  John E. Perry in connection with a series of

            bank robberies in Connecticut and Alabama.  

                      Later  that morning,  a  woman at  the local  power

            company, who had been shown a  photograph of Hunter, reported

            that a person  resembling Hunter had requested that  power be

            turned  on at  his  trailer.   After  receiving this  report,

            Fulmer brought a copy of Hunter's photograph to the woman and

            asked  her to  notify  the Sheriff's  Department  if the  man

            returned.   A short time  later that day,  the woman reported

            that Hunter had  returned.  Upon  learning this, Fulmer  left



                                         -9-
                                          9















            for the power company and requested  several back-up units to

            meet him  there.   On the  way, Fulmer alerted  by radio  the

            other officers  responding to  the scene that  an outstanding

            federal  warrant  existed for  Hunter's  arrest.   The  first

            officer to arrive at the  power company identified himself to

            Hunter and asked to speak to him.  In response, Hunter turned

            and ran.  The officer radioed that the suspect was fleeing on

            foot and then gave chase.  

                      Several  officers  eventually  caught and  arrested

            Hunter.    A  search  incident  to the  arrest  disclosed  an

            envelope containing $6039  in cash on Hunter's person.   Over

            two weeks later,  on May 11, 1993,  Agent Ridlehoover matched

            the serial numbers of twenty bills taken from the envelope to

            bills stolen from the Casco Northern Bank in Falmouth, Maine,

            on April 12, 1993.

                      While  Hunter was fleeing  on foot,  Deputy Fulmer,

            who  had yet  to reach  the power  company, spotted  the same

            pickup truck, which he  had seen earlier in the  day, heading

            away  from  the power  company.   Fulmer directed  an Alabama

            state trooper who was  following him to turn around  and stop

            the truck.  At  this point, Fulmer did not  know the identity

            of either the person driving the  truck or the person who had

            fled  on foot.  After  stopping the truck,  the state trooper

            asked  the driver  for  identification.   The  driver of  the

            truck, McCarthy, falsely identified  himself as John E. Perry



                                         -10-
                                          10















            and gave the  trooper a Maine  driver's license bearing  that

            name.  

                      Subsequently about  12:15 p.m., McCarthy  was taken

            into  custody   and  transported   to   the  Chilton   County

            Courthouse.  McCarthy was searched and approximately $2000 in

            cash  was  found  on  his  person.    Shortly after  stopping

            McCarthy,  an  official  from the  Chilton  County  Sheriff's

            Department  notified Connecticut officials  that McCarthy was

            in  custody.   The Connecticut  officials requested  that the

            Chilton County Sheriff's Department continue to hold McCarthy

            while they  attempted to  secure an arrest  warrant based  on

            McCarthy's  alleged participation  in  the Franklin  robbery.

            Sometime after midnight, a  Connecticut Superior Judge signed

            an arrest warrant  for McCarthy for his  participation in the

            Franklin robbery.4  

            D.   Search and  Seizure of  McCarthy's Suitcases, Truck  and
            _____________________________________________________________

                      Storage Unit
                      ____________

                      On  the  evening  of April  23,  1993,  the  day of

            McCarthy's  arrest  in  Alabama,  Deputy  Fulmer  received  a

            telephone  call from  Chilton County  resident Gene  Ellison.

            Ellison told Fulmer that McCarthy and Hunter had been staying

                                
            ____________________

            4.  Several months later, the Connecticut prosecution against
            McCarthy  was  dismissed   without  prejudice  following  the
            discovery that the affidavit  on which the Connecticut arrest
            warrant  was based included  an incorrect  factual statement.
            Because the disposition of this appeal does not depend on the
            validity of the Connecticut arrest warrant, we do not discuss
            it further.

                                         -11-
                                          11















            with  his  neighbor, Joe  Henderson,  and  that McCarthy  and

            Hunter had left some items in Henderson's trailer that Fulmer

            should  see.   Deputy Fulmer  agreed to  come by  Henderson's

            trailer.   When  he arrived, Fulmer  found a  maroon suitcase

            laying open on  Henderson's kitchen table.   An AK-47 assault

            rifle, a pistol, extra clips and a bullet-proof vest sat atop

            the suitcase in plain  view.  Henderson told Fulmer  that the

            suitcase and its contents belonged to McCarthy  and asked him

            to take possession of them.

                      Henderson further explained  that he had  permitted

            McCarthy and Hunter to stay with him for the past six days in

            return  for $40  rent.   Henderson knew  McCarthy and  Hunter

            because the  two men  had  previously rented  a trailer  from

            Henderson's  landlord,  J.B.  Ellison.   While  staying  with

            Henderson,  McCarthy and Hunter had  slept on a  couch and an

            easy  chair in  Henderson's living  room and  had  kept their

            belongings in a back bedroom that Henderson used for storage.

            On Thursday,  April 22, the day before the arrests, Henderson

            had told the two  men that he was  expecting company for  the

            upcoming weekend and  that they  would have to  leave.   When

            Henderson  left  for work  on  the  morning of  the  arrests,

            McCarthy  and  Hunter  were  preparing  to  move  out  of the

            trailer.

                      When Henderson  returned home that  afternoon, Gene

            Ellison told him  that the police  had arrested McCarthy  and



                                         -12-
                                          12















            Hunter.  Henderson then  decided to check his trailer  to see

            if  McCarthy and  Hunter had  left anything  behind.   In the

            storage  room, he  found two  suitcases, the  maroon suitcase

            that  was  closed  and  locked,  and  an  American  Tourister

            suitcase  that was laying open  with clothes piled  on top of

            it.  Henderson attempted  to move the maroon suitcase  out of

            the room to a storage shed behind his trailer but was  unable

            to do so because the  suitcase was too heavy.  He  asked Gene

            Ellison to help  him.   Ellison moved the  suitcase into  the

            other room and cut the  lock off of it  in order to find  out

            why it  weighed so  much.   After Ellison  cut off  the lock,

            Henderson opened the suitcase and discovered the weapons, the

            bullet-proof  vest  and  other   items.    Some  time  later,

            Henderson  decided  he  should  turn  the  suitcase  and  its

            contents over  to the police so he  asked Ellison to call the

            sheriff's department.

                      During  Deputy Fulmer's  visit  on the  evening  of

            April 23, Henderson failed  to tell him about the  additional

            American   Tourister   suitcase  Henderson   had  discovered.

            Several  days later,  however,  Henderson told  an FBI  agent

            about it during an interview.  Later, at Henderson's request,

            Fulmer  and  FBI agent  Rich  Schott took  possession  of the

            suitcase.     Agent  Ridlehoover   inventoried  the  American

            Tourister on May 1, 1993, pursuant to standard  FBI practice.

            No warrant was obtained for the suitcase.



                                         -13-
                                          13















                      Following  McCarthy's Alabama arrest, a warrant was

            obtained on  April  28, 1993,  to  search his  pickup  truck.

            Accordingly,  investigators  searched  the truck,  finding  a

            receipt  for a  storage unit  located in  Scarborough, Maine.

            Subsequently, on  May 12, 1993, FBI  investigators obtained a

            warrant to search  the storage  unit and its  contents.   The

            ensuing  search revealed  a  footlocker  containing  numerous

            incriminating items with possible connections  to the robbery

            of  the Casco  Northern  Bank.   The  footlocker belonged  to

            McCarthy,  and  McCarthy, using  the  alias  John Perry,  had

            rented the storage unit.

            E.  Prior Proceedings
            _____________________

                      Prior to  trial, Hunter moved to  suppress evidence

            arising from  the Connecticut  stop and the  Alabama arrests.

            With  respect  to  the  Connecticut stop,  Hunter  sought  to

            suppress the statements  and gesture he made during the first

            seventy-five  minutes of  the  stop that  ultimately led  the

            police to  James Hall.   McCarthy moved to  suppress evidence

            arising from his Alabama  arrest and the searches of  the two

            suitcases,  his pickup truck and  the Maine storage  unit.  A

            magistrate judge  held a  two-day evidentiary hearing  on the

            motions  and, subsequently,  issued  a  recommended  decision

            denying  them both.   After  a de  novo review,  the district
                                           __  ____

            court denied  the motions, adopting substantially  all of the

            magistrate judge's recommended findings.  



                                         -14-
                                          14















                      At  the  ensuing trial,  McCarthy  and  Hunter were

            tried  together  before a  jury  on  a five-count  indictment

            alleging various charges arising from  a series of three bank

            robberies  in  Connecticut, Alabama  and  Maine.5   The  jury

            found McCarthy  and Hunter guilty of  all charges, convicting

            the  two  men  on Count  One  of  conspiring  to commit  bank

            robberies in  Connecticut, Alabama and Maine  in violation of

            18 U.S.C.   371, on Count Two of committing the Maine robbery

            of  the  Casco Northern  bank in  violation  of 18  U.S.C.   

            2113(a), 2113(d)  and 18 U.S.C.    2, and  on Count Three  of

            knowingly  using  and  carrying  firearms  during  the  Casco

            robbery in  violation of 18  U.S.C.   924(c).   The jury also

            convicted  McCarthy on  Count Four of  being an  armed career

            criminal in  violation of 18 U.S.C.     922(g)(1), 924(e)(1),

            and Hunter  on Count Five  of being a  felon-in-possession in

            violation of 18  U.S.C.    922(g)(1), 924(a)(2) and 18 U.S.C.

              2.  Following trial, the district  court sentenced McCarthy

            to 387 months imprisonment.6   The court sentenced Hunter  to

                                
            ____________________

            5.  Specifically,  Count One  of indictment  charged McCarthy
            and Hunter with conspiring  to rob the Franklin bank  on July
            6,  1992, the Peoples Bank in Woodstock, Alabama, on November
            13,  1992, and the Casco Northern bank in Falmouth, Maine, on
            April 12, 1993.

            6.  McCarthy  was sentenced  to 327 months  on Count  Two for
            committing  the Casco  Northern  bank robbery,  to be  served
            concurrently  to  a  60-month   sentence  on  Count  One  for
            conspiracy, and a 180-month sentence on  Count Four for being
            an  armed  career  criminal.    On  Count  Three,  the  court
            sentenced  McCarthy  to  the  mandatory  60-month consecutive
            sentence on the   924(c) firearm violation.

                                         -15-
                                          15















            270  months imprisonment  to be  served consecutively  to his

            Connecticut state sentence for violation of probation.7 

                                         II.
                                         II.
                                         ___

                                      Discussion
                                      Discussion
                                      __________

                      On  appeal, Hunter challenges  the district court's

            denial  of  his  suppression   motion,  contending  that  his

            Connecticut detention following the  Franklin robbery and his

            later  Alabama   arrest   violated  the   Fourth   Amendment.

            Similarly, McCarthy challenges the denial of  his suppression

            motion,  taking issue  with the  district court's  refusal to

            find error in his Alabama arrest and the subsequent search of

            his  two suitcases,  pickup  truck and  storage  unit.   Both

            defendants  also  raise  several  issues  relating  to  their

            respective sentences.  We address each argument in turn.

            A.  The Suppression Motions
            ___________________________

                      Our review of a  district court's decision to grant

            or  deny a suppression motion  is plenary.   United States v.
                                                         _____________

            DeMasi, 40 F.3d 1306, 1311 (1st Cir. 1994), cert. denied, 115
            ______                                      _____ ______

            S. Ct. 947 (1995).  "We defer, however, to a district court's

            factual  findings if, on  a reasonable view  of the evidence,

            they are not clearly erroneous."  Id.; see also United States
                                              ___  ___ ____ _____________

                                
            ____________________

            7.  The court sentenced Hunter to 210 months on Count Two for
            committing the  Maine robbery, to be served concurrently to a
            60  month sentence  on Count  One for  conspiracy, and  a 120
            month sentence on Count Five for being a felon in possession.
            On Count  Three, the district  court sentenced Hunter  to the
            mandatory  60-month  consecutive  sentence  on  the    924(c)
            firearm charge.

                                         -16-
                                          16















            v.  Zapata, 18 F.3d 971, 975 (1st  Cir. 1994).  A clear error
                ______

            exists  only if, after  considering all the  evidence, we are

            left with a definite  and firm conviction that a  mistake has

            been made.  United States v. McLaughlin, 957 F.2d 12, 17 (1st
                        _____________    __________

            Cir.  1992).   Moreover, we  will uphold  a district  court's

            decision  to  deny a  suppression  motion  provided that  any

            reasonable  view  of  the  evidence  supports  the  decision.

            United States v. Garcia, 983 F.2d 1160, 1167 (1st Cir. 1993).
            _____________    ______

                      1.  Hunter's Connecticut Detention
                      __________________________________

                      Hunter  initially  challenges the  legality  of the

            Connecticut stop.  Hunter  contends that the stop constituted

            a  de  facto  arrest  unsupported  by  probable  cause,  and,
               __  _____

            therefore, the comments and gesture he made during the  first

            seventy-five minutes of the stop -- leading eventually to the

            discovery  of  James Hall  --  should  have been  suppressed.

            Furthermore, Hunter contends that the testimony of James Hall

            should  have  been  suppressed  as the  fruit  of  an illegal

            arrest.  We disagree.

                      The Fourth  Amendment does not demand that probable

            cause  exist prior to all police action.  See generally Terry
                                                      ___ _________ _____

            v. Ohio, 392 U.S. 1 (1968).  Indeed, it is well-settled that,
               ____

            based  merely on  a reasonable  and articulable  suspicion, a

            police  officer  may make  a brief  stop  or "seizure"  of an

            individual to investigate suspected past or present  criminal

            activity.  See United  States v. Hensley, 469 U.S.  221, 226-
                       ___ ______________    _______



                                         -17-
                                          17















            229 (1985) (extending Terry  stops to past criminal conduct);
                                  _____

            United  States v. Quinn, 815  F.2d 153, 156  (1st Cir. 1987).
            ______________    _____

            The  relevant question  in  these cases  is  not whether  the

            police  had probable  cause to act,  but instead  whether the

            actions taken  were reasonable under the  circumstances.  See
                                                                      ___

            United States v. Sharpe, 470 U.S. 675, 682 (1985).
            _____________    ______

                      In  determining  whether  a  challenged  action  is

            reasonable, and, thus, falls  within the range of permissible

            investigatory stops  or detentions,  a court should  engage a

            two-step inquiry, asking (1) whether the officer's action was

            justified  at its inception; and (2) whether the action taken

            was  reasonably  related  in   scope  to  the   circumstances

            justifying the  interference in the first place.   Terry, 392
                                                               _____

            U.S. at 19-20; United States v. Stanley, 915 F.2d 54, 55 (1st
                           _____________    _______

            Cir. 1990).  Moreover, the Supreme Court has  explained that,

            in  such  circumstances,   the  question  of   reasonableness

            requires  a court to "balance[] the nature and quality of the
                                                ______     _______

            intrusion on personal security  against the importance of the

            governmental  interests  alleged to  justify  the intrusion."

            Hensley,  469 U.S. at 228  (emphasis added).   The inquiry is
            _______

            fact specific and a court should consider the totality of the

            circumstances confronting the police at the time of the stop.

            Kimball,  25   F.3d  at   6;  see   also  United   States  v.
            _______                       ___   ____  _______________

            Rodriguez-Morales, 929  F.2d 780, 783 (1st  Cir. 1991), cert.
            _________________                                       _____

            denied, 502 U.S. 1030 (1992).
            ______



                                         -18-
                                          18















                        At the outset,  we note  that Hunter  essentially

            concedes  that  Officer  Richard  had  sufficient  reasonable

            suspicion  to make  the  initial stop.8   Hunter's  principal

            complaint,  instead,  focuses  on  the  second  step  of  the

            inquiry, arguing that the length  of his detention was simply

            too long.   He contends  that the length  of the  Connecticut

            stop  exceeded  the  permissible   durational  limits  of  an

            investigative  stop  not supported  by  probable  cause, and,

            thus, made  the entire  scope of police  conduct unreasonable

            per se.
            ___ __

                        As we  have noted before, however,  "`there is no

            talismanic time beyond which  any stop initially justified on

            the basis of Terry becomes an unreasonable seizure under  the
                         _____

            [F]ourth  [A]mendment.'"   Quinn,  815 F.2d  at 157  (quoting
                                       _____

            United  States v. Davies, 768 F.2d 893, 901 (7th Cir.), cert.
            ______________    ______                                _____

            denied,  474 U.S.  1008 (1985));  see also  United  States v.
            ______                            ___ ____  ______________

            Place,  462 U.S. 696,  709-10 (1983) (declining  to adopt any
            _____

                                
            ____________________

            8.  In  his reply  brief,  Hunter denies  conceding that  the
            police  had  sufficient  reasonable  suspicion  to  make  the
            initial  stop.  To the  contrary, we think  a fair reading of
            his  opening argument to this court and the arguments he made
            in his  briefs  to  the  district  court  below  belies  this
            contention.  In  any event, the district court's finding that
            Officer Richard properly acted in initially detaining  Hunter
            after spotting him shortly after  the robbery, driving a  red
            Pontiac   Sunbird,  is  eminently  supportable.    The  close
            proximity in both distance  and time to the Franklin  robbery
            combined with the fact  that Hunter's car identically matched
            the description of the vehicle the  suspects were reported to
            be driving  are articulable  and specific facts  that clearly
            gave rise to  the reasonable suspicion needed to  justify the
            initial stop.

                                         -19-
                                          19















            outside  time limitation  on  a permissible  Terry stop,  but
                                                         _____

            holding  ninety-minute detention  of luggage  unreasonable on

            specific  facts of case); United States v. Vega, 72 F.3d 507,
                                      _____________    ____

            514-16 (7th Cir. 1995  (upholding sixty-two minute stop; "the

            crux  of our inquiry is  whether the nature  of the restraint

            meets   the   Fourth   Amendment's  standard   of   objective

            reasonableness").    "[C]ommon   sense  and  ordinary   human

            experience must govern over rigid criteria."  Quinn, 815 F.2d
                                                          _____

            at 157 (quoting Sharpe, 470 U.S. at 685).   Indeed, whether a
                            ______

            particular  investigatory  stop  is   too  long  turns  on  a

            consideration of  all relevant  factors,  including "the  law

            enforcement purposes to be served by the stop as  well as the

            time  reasonably  needed   to  effectuate  those   purposes."

            Sharpe,  470 U.S.  at  685.   Moreover,  a court  should  ask
            ______

            "whether   the   police  diligently   pursued   a   means  of

            investigation  that was  likely  to confirm  or dispel  their

            suspicions  quickly, during  which time  it was  necessary to

            detain the defendant."  Id. at 686.  
                                    ___

                      Furthermore, time of detention  cannot be the  sole

            criteria for  measuring the  intrusiveness of  the detention.

            Clearly, from the perspective of the detainee, other factors,

            including  the  force  used  to detain  the  individual,  the

            restrictions placed on his or  her personal movement, and the

            information conveyed  to the detainee  concerning the reasons

            for the stop and its impact on his or her  rights, affect the



                                         -20-
                                          20















            nature and extent of  the intrusion and, thus,  should factor

            into the analysis.   Cf. Zapata, 18 F.3d at  975 (distinction
                                 ___ ______

            between investigatory stop and de  facto arrest turns in part
                                           __  _____

            on  what "a  reasonable  [person] in  the suspect's  position

            would  have  understood  his  [or  her]  situation"  to  be).

            Finally,  the  Supreme  Court  has admonished  that,  in  all

            events, "[a] court making this assessment should take care to

            consider  whether   the  police  are  acting   in  a  swiftly

            developing situation,  and in such cases the court should not

            indulge in unrealistic second-guessing."  Sharpe, 470 U.S. at
                                                      ______

            686.

                      Though the issue is  exceedingly close, we  believe

            that,  on the  circumstances that  obtain here,  the district

            court did not err in refusing to suppress Hunter's statements

            and  gesture   leading  to  the  discovery   of  James  Hall.

            Initially we note that, although Hunter challenges the length

            of the Connecticut detention  in its entirety, the statements

            and gestures  that he seeks  to suppress occurred  within the

            first seventy-five minutes of  the stop.  Thus, we  limit the

            scope  of our analysis accordingly and do not address whether

            the district  court would have  erred in failing  to suppress

            any statements or evidence obtained later in the stop.  

                      More importantly, when limited to this  time frame,

            we  do   not  find  the   scope  of  the   stop  particularly

            unreasonable.   There is no evidence or even an allegation of



                                         -21-
                                          21















            less  than diligent behavior on the  part of the police.  The

            officers on location used a number of different investigative

            techniques in their efforts to pursue quickly any information

            that might  have  dispelled  the  reasonable  suspicion  that

            initially  triggered  the  stop.   Officer  Richard  ran  the

            registration check of the  Sunbird immediately after stopping

            Hunter.  Trooper  Hall promptly informed Hunter of his rights

            and questioned him about  where he had been since the time of

            the robbery.  Other  officers brought a teller from  the bank

            to the scene in an attempt  to establish definitively whether

            or not  Hunter  had participated  in  the robbery.    Trooper

            Heller,  once on  the scene,  promptly telephoned  the rental

            agency in an effort  to learn more about the  individuals who

            had  rented  the automobile.   In  short,  we think  that the

            record clearly belies any contention that the police officers

            involved  neglected  to   employ  any  reasonably   available

            alternative  methods that could  have significantly shortened

            their inquiry.  See  Quinn, 815 F.2d  at 158.  The  excessive
                            ___  _____

            length of  Hunter's detention arose not  because the officers

            engaged  in dilatory  tactics,  but,  instead, because  their

            investigative   efforts,   though   reasonable    under   the

            circumstances, failed to dispel  the suspicion that gave rise

            to the stop.9

                                
            ____________________

            9.  In Michigan  v. Summers, 452  U.S. 692, 700  n.12 (1981),
                   ________     _______
            the Court  noted that  "[i]f the purpose  underlying a  Terry
                                                                    _____
            stop -- investigating  possible criminal activity -- is to be

                                         -22-
                                          22















                      Moreover,  while  it is  clear  that  Hunter had  a

            constitutional right  not to  answer any questions,  the fact

            that his  responses were  evasive and,  at times,  defiant is

            relevant in  evaluating the  scope of the  officers' conduct.

            See,  e.g., id.  (detention of  forty-five to  sixty minutes;
            ___   ____  ___

            noting  that  it  would  have been  unreasonable  to  release

            defendants  when their  answers to  initial questions  raised

            rather than lowered  suspicion); United  States v.  Richards,
                                             ______________     ________

            500  F.2d 1025, 1029 (9th Cir. 1974) (detention over an hour;

            "implausible  and  evasive responses  .  .  . indicated  that

            something was  awry  and created  even  more reason  for  the

            investigation being pursued further"), cert. denied, 420 U.S.
                                                   _____ ______

            924  (1975).   Not  only  did Hunter's  incomplete  and vague

            responses  reasonably heighten  the officers'  suspicion that

            Hunter had  participated in the  robbery, they also  made the

            attempt to dispel that suspicion more difficult.  Indeed, had

            Hunter cooperated initially and  told Officer Richard that he

            had been at James Hall's house, the length of the stop  would

            have  been  much shorter.   Cf.  Sharpe,  470 U.S.  at 687-88
                                        ___  ______



                                
            ____________________

            served, the  police must under certain  circumstances be able
            to detain  the  individual for  longer  than the  brief  time
            period involved in Terry."  See also Sharpe, 470 U.S. at 685-
                               _____    ___ ____ ______
            86.  The Court then listed, with apparent approval, a variety
            of  different investigative techniques,  including those used
            here, that  police might appropriately use  during the course
            of  an   investigative  stop   to  dispel   their  reasonable
            suspicion.  Summers,  452 U.S.  at  700  n.12  (quoting 3  W.
                        _______
            LaFave, Search and Seizure   9.2, at 36-37 (1978)).
                    __________________

                                         -23-
                                          23















            (upholding detention where  delay attributable in large  part

            to defendant's evasive attempts to avoid stop).    

                       Next, in attempting to strike the proper  balance,

            we  note  that  the   governmental  purposes  served  by  the

            detention  in this  case  are substantial.   Indeed,  several

            factors,  specific  to  this case,  reasonably  enhanced  the

            government's interest in detaining Hunter.  First, the nature

            of the  suspected criminal conduct, a  daylight armed robbery

            of a  bank involving physical  threats to both  customers and

            bank personnel, was severe.  Second, the detention took place

            shortly after the  robbery in a nearby town not  far from the

            bank.    As a  noted  commentator  has explained,  that  "the

            suspected  crime is  serious enough to  prompt flight  if the

            suspect is  freed, or . .  .  recent enough  that if probable

            cause  soon develops  it  would be  desirable  to arrest  the

            suspect  and subject  him  [or her]  to  a search"  are  both

            legitimate  reasons  for  continuing  custody  that  must  be

            considered in the total  balance.  3 Wayne R.  LaFave, Search
                                                                   ______

            and Seizure    9.2(f), at  386 (2d ed.  1987).  Finally,  the
            ___________

            fact  that at the  time of the  stop Hunter  was preparing to

            enter an interstate highway in  a rented vehicle bearing out-

            of-state plates weighs on the government's side of the scale.

            Objectively,  from the  perspective  of the  officers on  the

            scene,  if they  had not  detained Hunter  at that  point, he





                                         -24-
                                          24















            could  easily  have  left  the jurisdiction  and  evaded  the

            dragnet of the Connecticut State Police.

                      Finally, we  do not believe,  on the facts  of this

            case, that  the stop was needlessly intrusive.   Although the

            police  detained  Hunter in  the  back  of Officer  Richard's

            vehicle,  he was never handcuffed, see,  e.g., State v. Reid,
                                               ___   ____  _____    ____

            605  A.2d 1050,  1053-54  (N.H. 1992)  (placing defendant  in

            cruiser does  not make  Terry stop unreasonable);  cf. Quinn,
                                    _____                      ___ _____

            815  F.2d at 157  n.2 (use of  handcuffs does  not make Terry
                                                                    _____

            stop de facto  arrest), nor  did the officers  keep the  rear

            door to  the police  cruiser continuously closed.   Moreover,

            there  is no  evidence  in the  record  to suggest  that  any

            officer ever  drew a  gun on  Hunter.  Cf.  United States  v.
                                                   ___  _____________

            Trullo,  809 F.2d 108, 113 (1st Cir.) (use of weapons without
            ______

            more does not elevate stop to de facto arrest), cert. denied,
                                                            _____ ______

            482 U.S. 916 (1987).  

                      Furthermore,  the  officers  informed Hunter  that,

            although he was  not free to leave, he  was not under arrest,

            and  that  they were  detaining  him  only for  investigative

            purposes because a  car identical to his Pontiac  Sunbird had

            been   involved  in   a  bank   robbery  earlier   that  day.

            Additionally,  only fifteen  minutes  after  Officer  Richard

            first stopped  Hunter, Trooper  Hall read Hunter  his Miranda
                                                                  _______

            rights.    Clearly,  timely  disclosure  of  such information

            (e.g.,  the reasons for the  detention, and an explanation of
             ____



                                         -25-
                                          25















            the detainee's rights) has the potential to reduce the stress

            of such  a detention  and, thus, minimize  its intrusiveness.

            See Place, 462 U.S. at 710 (noting that incorrect information
            ___ _____

            given  to  defendant  by  law  enforcement  officials  during

            detention   militated   against   finding   scope   of   stop

            reasonable); United  States v. LaFrance,  879 F.2d 1,  7 (1st
                         ______________    ________

            Cir. 1989) (similar);  cf. Brown v.  Illinois, 422 U.S.  590,
                                   ___ _____     ________

            603 (1975) (fact that Miranda  warnings given is relevant  in
                                  _______

            determining whether statement  given following illegal arrest

            can be considered voluntary).

                      In sum,  although  as we  have  said the  issue  is

            exceptionally close, we think that,  on the record before us,

            the  balance tips  in favor of  the government.   Admittedly,

            Hunter's detention following the  Franklin robbery was hardly

            what  one  would   normally  consider  "brief,"  and,   under

            circumstances  different from  those found  here, we  have no

            doubt that an investigative detention of similar length would

            unacceptably  offend the  Constitution.  Nonetheless,  we are

            not  persuaded,  on the  facts  of this  case  (i.e. evidence
                                                            ____

            sought  to  be  suppressed  was  obtained  during  the  first

            seventy-five  minutes of  the stop,  diligent efforts  by the

            police  to dispel  reasonable suspicion,  defendant's evasive

            responses  significantly  contributing to  delay, substantial

            government interests in the detention, and prompt  disclosure

            to  the defendant  of  his rights  and  the reasons  for  the



                                         -26-
                                          26















            detention),  that the  district  court erred  in refusing  to

            suppress Hunter's statements and gesture.10 

                      2.  Hunter's Alabama Arrest
                      ___________________________

                      Hunter also challenges  the legality of  his arrest

            in  Alabama.   Hunter  contends that,  at  the moment  of his

            arrest, the arresting officer did not have probable  cause to

            take Hunter into custody.  This challenge is without merit.

                      The district  court found that, at  the time Hunter

            was taken  into custody, Deputy Fulmer and the other officers

            involved  in Hunter's  arrest  were aware  of an  outstanding

            federal  arrest  warrant for  Hunter.    Such  a finding,  if

                                
            ____________________

            10.  Furthermore, we  also have substantial  doubt concerning
            the  scope   of  the   evidence  Hunter  seeks   to  suppress
            (specifically,  the  testimony of  James  Hall).   Though  we
            question,  but need  not decide,  whether the  government has
            sufficiently  developed the  record below  to support  such a
            finding, see United States v. Infante-Ruiz,  13 F.3d 498, 503
                     ___ _____________    ____________
            (1st Cir.  1994) ("[G]overnment  bears burden of  showing, by
            reference  to  `demonstrated  historical  facts'   and  by  a
            preponderance of  the evidence, that the  information or item
            would inevitably have been  discovered by lawful means."), we
            think   it  likely  that,   in  the  normal   course  of  the
            investigation,   the   government   would   have   inevitably
            discovered James Hall.   Indeed, James Hall's brother, Lance,
            rented  the Pontiac  Sunbird.   Trooper Heller  obtained this
            information and the fact  that Hunter was listed as  a driver
            on  the rental  agreement solely  on the  basis of  the car's
            license plate number.   It is true that the  record lacks any
            evidence  clearly establishing  that  the  police would  have
            possessed the license plate number  absent the stop, or that,
            during the normal course of the investigation, officers would
            have  spoken  to Lance  Hall  and necessarily  have  made the
            connection to  his brother  James.   Nonetheless,  we do  not
            think  it is  unduly speculative  to infer  that such  events
            would have occurred.  Had the police spoken to Lance Hall, it
            is  at least arguably reasonable that  he would have directed
            them  to his brother James, who also knew Hunter and lived in
            the vicinity of the Franklin robbery.

                                         -27-
                                          27















            supported by the record, is a sufficient basis to support the

            arrest.  See Whiteley v. Warden, Wyo. State Penitentiary, 401
                     ___ ________    _______________________________

            U.S. 560,  568 (1971)  ("police officers  called upon  to aid

            other officers  in executing arrest warrants  are entitled to

            assume  that   the  officers   requesting  aid  offered   the

            magistrate   the   information   requisite  to   support   an

            independent  judicial assessment  of  probable  cause");  cf.
                                                                      ___

            Hensley,  469 U.S.  at  229-32 (extending  Whiteley to  cover
            _______                                    ________

            reliance  on  a flyer  or  bulletin  to establish  reasonable

            suspicion   justifying   investigatory   stops).     Fulmer's

            testimony at the suppression  hearing, stating that, prior to

            Hunter's arrest,  he knew about  the warrant and  had alerted

            the other officers involved to this fact, amply supports  the

            finding.   The fact that  Fulmer's report made  subsequent to

            the  arrest fails to mention the warrant is of little moment.

            Deputy Fulmer  explained at the suppression  hearing that his

            report  was  incomplete, and  the  district  court was  fully

            entitled to credit that testimony. 

                      3.  McCarthy's Alabama Arrest
                      _____________________________

                      McCarthy's  challenges to  his stop  and arrest  in

            Chilton  County,  Alabama, on  April  23,  1993, are  equally

            unavailing.   McCarthy contends  that no reasonable  basis or

            probable cause existed to  stop his pickup truck as  it drove

            away from  the power station.   Moreover,  he contends  that,

            even  if the  police had  sufficient reasonable  suspicion to



                                         -28-
                                          28















            detain him briefly for investigative  purposes, the detention

            became an illegal de  facto arrest because he was  taken into
                              __  _____

            custody and held  without probable cause until  1:00 a.m. the

            next day when a warrant finally issued.  

                      First, we  disagree that the district court clearly

            erred in finding that Deputy Fulmer had sufficient reasonable

            suspicion  to  have McCarthy's  truck  pulled  over.   Fulmer

            testified that, at  the time  of the stop,  he was  generally

            aware of  the details of the  ongoing Franklin investigation.

            See  Hensley, 469  U.S.  at 229-32  (police without  specific
            ___  _______

            knowledge  of  facts  supporting  flyer  or  bulletin  issued

            concerning  suspects may  nonetheless  rely on  the flyer  or

            bulletin  to  supply   reasonable  suspicion  justifying   an

            investigatory  stop).   He stated  that he  specifically knew

            that  McCarthy and Hunter were  suspects in a  series of bank

            robberies,  that  the two  men  were suspected  to  be living

            together  in the area,  that McCarthy  was falsely  using the

            name  John E. Perry, and  that an arrest  warrant existed for

            Hunter.  Moreover,  Fulmer testified  that he  knew that  the

            Isuzu truck was registered to a "John E.  Perry," and that he

            believed  that person to be the John E. Perry under suspicion

            by  the FBI.    These facts  alone arguably  give  rise to  a

            reasonable   suspicion   sufficient   to   justify   a  brief

            investigatory stop of McCarthy.   More importantly, adding to

            this  collection McCarthy's  presence at the  scene following



                                         -29-
                                          29















            Hunter's  flight  significantly   heightened  the   suspicion

            concerning McCarthy's involvement.  Thus, we find no error in

            the district court's finding.

                      Furthermore, we note  that Deputy Fulmer  testified

            that, at the  time he ordered the stop, he did not definitely

            know  whether McCarthy  or  Hunter was  driving the  truck or

            whether Hunter was  a passenger.  Clearly, it was conceivable

            that Hunter, after initially fleeing on foot,  could have run

            to,  and continued  his  escape in,  McCarthy's Isuzu  pickup

            truck.   Thus, independent of his  suspicion about McCarthy's

            involvement in the  robberies, Fulmer could  justifiably have

            ordered the  stop simply to  determine whether or  not Hunter

            was inside the truck.

                      Second,  we  find  no  error in  the  finding  that

            probable  cause  to hold  McCarthy  arose  shortly after  the

            initial stop.   Under Alabama state law  it is an  offense to

            provide  illegal identification  to a  police officer.   Ala.

            Code   13A-9-18.1 ("Giving of false name or address to a  law

            enforcement officer."); cf. Ala.  Code   13A-9-18  ("Criminal
                                    ___

            impersonation.").   Fulmer testified that, at the time of the

            arrest, he knew McCarthy's identification of himself as Perry

            was false and that such identification violated Alabama state

            law.   Thus, once McCarthy  provided his driver's  license to

            the trooper who stopped  him, sufficient probable cause arose

            to  take him  into custody.   We find  no clear  error in the



                                         -30-
                                          30















            district court's crediting this  testimony or in holding that

            it provided a sufficient basis for detaining McCarthy.

                      4.  Seizure of McCarthy's Two Suitcases
                      _______________________________________

                      McCarthy also  challenges the  seizure  of his  two

            suitcases.     McCarthy  contends  that  the  district  court

            erroneously found  that the seizure  of the  weapons and  the

            other items  discovered in his maroon  suitcase properly came

            within the "plain view" exception to the warrant requirement.

            He argues that the  incriminating nature of the evidence  was

            not  immediately apparent  to Deputy  Fulmer.   McCarthy also

            contends that no credible  evidence established that he owned

            the  seized weapons or that  they were actually  found in his

            suitcase.   With  respect  to his  second suitcase,  McCarthy

            argues that the district  court erred in finding that  he had

            no expectation of privacy in the American Tourister suitcase.

            McCarthy  maintains  that, though  he  left  the suitcase  in

            Henderson's trailer, he left it closed and locked.  Moreover,

            he contends that he had not abandoned the suitcase because he

            intended to retrieve it  later in the evening  on the day  of

            his arrest.  We find these arguments unpersuasive.

                      To  satisfy  the  "plain  view"  exception  to  the

            warrant requirement,  the government  must show that  (1) the

            law enforcement  agent was legally  in a position  to observe

            the seized evidence, and (2) the incriminating nature  of the

            evidence  was "immediately  apparent"  to the  officer.   See
                                                                      ___



                                         -31-
                                          31















            United  States  v. Giannetta,  909  F.2d 571,  578  (1st Cir.
            ______________     _________

            1990).     The  incriminating  nature  of   the  evidence  is

            "immediately apparent,"  if the officer,  upon observing  the

            evidence,  has   probable  cause  to  believe   the  item  is

            contraband  or  evidence  of a  crime.    Id.   "A  practical
                                                      ___

            nontechnical  probability  that  incriminating   evidence  is

            involved is all that is required."  Texas v. Brown, 460  U.S.
                                                _____    _____

            730, 742 (1983) (quotations omitted).

                      While it  is true that the district court failed to

            make an explicit finding on the "immediately apparent" prong,

            the oversight  matters little  in the context  of this  case.

            Deputy Fulmer  knew that McCarthy,  along with Hunter,  was a

            suspect  in  a  series  of  armed  bank  robberies.   Without

            question, the automatic weapons, ammunition  and bullet-proof

            vest were all potential instrumentalities of such crimes.  We

            think a finding that the incriminating nature of the evidence

            was immediately apparent to  Fulmer, implicit in the district

            court's  refusal  to suppress  the  weapons  and other  items

            seized from the suitcase, is clearly supported by the record.

             

                       We also find little merit in McCarthy's contention

            that  no  credible evidence  established  that  he owned  the

            weapons  and other items seized or that they were actually in

            his  suitcase prior  to  its being  opened.   As  an  initial

            matter,  we   note  that   McCarthy's   contention  is   more



                                         -32-
                                          32















            appropriately considered as an attack on the relevancy of the

            seized  weapons rather than a fourth amendment issue.  If, as

            McCarthy contends, he  did not  own the weapons  and did  not

            store them in his suitcase, then the seizure does not violate

            his fourth amendment rights because it did not intrude on his

            privacy.   See Sanchez, 943 F.2d  at 112-13 (Fourth Amendment
                       ___ _______

            rights  are  personal).   On  the other  hand,  if McCarthy's

            allegation that he  did not  own or possess  the weapons  and

            other items is true,  then they would not have  been relevant

            as  evidence in  his criminal  trial.  See  Fed R.  Evid. 401
                                                   ___

            (evidence is relevant  if it  tends to make  a disputed  fact

            more  or less  probable).   When, as  here, the  relevancy of

            specific evidence turns on a condition of fact -- whether the

            suitcase  actually contained  the  seized  weapons and  other

            items -- a court  shall admit it subject to  the introduction

            of evidence sufficient  to fulfill that  condition.  Fed.  R.

            Evid.  104(b); United States v. Trenkler, 61 F.3d 45, 53 (1st
                           _____________    ________

            Cir. 1995).

                      While Gene  Ellison, the person who purportedly cut

            the  lock off  the maroon  suitcase, did  not testify  at the

            suppression  hearing,   we  think  the   evidence  adequately

            supports  the conclusion  that the items  seized were  in the

            suitcase  prior to  its opening.   Henderson  testified that,

            although  Ellison took the padlock off  the suitcase while he

            was  in the other room, he, not Ellison, rummaged through the



                                         -33-
                                          33















            suitcase  and found  the  weapons and  the bulletproof  vest.

            Moreover, Henderson testified that the suitcase was extremely

            heavy and that he needed Ellison's assistance to move it from

            the back room of his trailer.  These facts reasonably support

            the  inference that the weapons  and other items  were in the

            suitcase   prior   to   Ellison's  removal   of   the   lock.

            Furthermore, that the items  were in the suitcase, reasonably

            supports the inference that they belonged to McCarthy.

                      Finally,  we find  no  clear error  in the  court's

            finding  that  McCarthy  had  no  legitimate  expectation  of

            privacy in  the contents of the  American Tourister suitcase.

            Based   on   Henderson's   testimony,  the   district   court

            supportably found  that McCarthy  left the  suitcase unlocked

            and open in  the back room of Henderson's trailer,  a room to

            which McCarthy did not have exclusive access.  Thus, McCarthy

            clearly had assumed  the risk that Henderson might consent to

            a search of the room (and that the search would extend to any

            items,  like the suitcase, sitting open in plain view).  See,
                                                                     ___

            e.g., United States v. Hall, 979 F.2d 77, 79 (6th Cir. 1992),
            ____  _____________    ____

            cert. denied, 113  S. Ct. 1357 (1993).   Moreover, McCarthy's
            _____ ______

            legitimate expectation  argument is  further undercut  by the

            fact that he  left the open  suitcase in Henderson's  trailer

            after  Henderson told  McCarthy  that he  and  Hunter had  to

            leave.   Cf. United States v.  Rahme, 813 F.2d  31, 34-35 (2d
                     ___ _____________     _____

            Cir.  1987) (hotel  guest had  no expectation  of  privacy in



                                         -34-
                                          34















            luggage  left  in  room  when,  because  of  his  arrest,  he

            defaulted on rent due).11

            B.  Sentencing Issues
            _____________________

                      We now turn to the issues Hunter and McCarthy raise

            concerning their respective sentences.  Hunter complains that

            the  district court  unfairly  sentenced him  to a  mandatory

            five-year   sentence  under   18   U.S.C.      924(c)   while

            simultaneously   enhancing  his   total  offense   level  for

            brandishing  a   firearm  during  and  in   relation  to  the

            Connecticut and Alabama robberies.  Hunter also contends that

            the district  court erroneously  ordered  his entire  federal

            sentence  to  run  consecutively   to  his  unexpired   state

            sentence.     McCarthy  contends  that  the   district  court

            incorrectly sentenced  him as an armed  career criminal under

            18 U.S.C.   924(e).  We discuss each argument below. 

                      1.  Standard of Review
                      ______________________

                      In  the  sentencing  context,  we  review factbound

            matters  for  clear  error,  and  such  facts  need  only  be

            supported by a preponderance of the  evidence.  United States
                                                            _____________

            v. Andujar,  49  F.3d 16,  25  (1st  Cir. 1995).    When  the
               _______

                                
            ____________________

            11.  McCarthy also challenges the  search of his Isuzu pickup
            truck,  arguing that it was  the fruit of  his illegal arrest
            and  the illegal search of  his maroon suitcase.   Because we
            find  no error in either his initial  arrest or the search of
            the suitcase,  we find no error  in the search of  the truck.
            Furthermore,   we  also  reject  McCarthy's  final  challenge
            concerning the search of his storage shed in Maine because it
            is likewise  substantially predicated on  the assumption that
            the earlier arrest and seizures were illegal.

                                         -35-
                                          35















            sentencing  issues  involve questions  of law,  including the

            applicability of a relevant guideline, our review is de novo.
                                                                 __ ____

            United States v. St. Cyr, 977  F.2d 698, 701 (1st Cir. 1992).
            _____________    _______

            Within  certain  limits, decisions  to  impose concurrent  or

            consecutive sentences  are committed  to the judgment  of the

            sentencing court, and such decisions are reviewed only for an

            abuse of discretion.   See United States v. Whiting,  28 F.3d
                                   ___ _____________    _______

            1296, 1210 (1st  Cir.), cert.  denied, 115 S.  Ct. 378,  498,
                                    _____  ______

            499, 532 (1994). 

                       2.  Hunter's Sentencing Issues
                       ______________________________

                           a.  Brandishing Enhancement
                           ___________________________

                      Section   2K2.4   of   the  Sentencing   Guidelines

            provides, inter alia, that a person convicted under 18 U.S.C.
                      _____ ____

               924(c) shall  be sentenced  to a  term of  imprisonment as

            required  by the statute.   U.S.S.G.   2K2.4(a).12   In turn,

            18 U.S.C.   924(c) specifies that any individual convicted of

            using a firearm during and in relation to a crime of violence

            or a drug trafficking crime shall be sentenced to a mandatory

            term   of  at  least  five  years  in  prison  to  be  served

            consecutively to  any other punishment.   18 U.S.C.   924(c).

            Application Note 2 to U.S.S.G.   2K2.4 adds that:

                      Where  a  sentence  under  [   2K2.4]  is
                      imposed  in  conjunction with  a sentence
                      for an underlying  offense, any  specific

                                
            ____________________

            12.  All guidelines' citations,  unless otherwise  indicated,
            are to  the November  1994 Guidelines Manual,  the manual  in
            effect on the date of sentencing.  See U.S.S.G.   1B1.11.
                                               ___

                                         -36-
                                          36















                      offense     characteristic     for    the
                      possession,  use,  or  discharge   of  an
                      explosive or firearm  . . . is not  to be
                      applied in respect  to the guideline  for
                      the underlying offense.

            U.S.S.G.   2K2.4,  comment. (n.2).   Thus, where a  defendant

            receives  a  mandatory  consecutive  sentence for  use  of  a

            firearm during a crime  of violence, pursuant to 18  U.S.C.  

            924(c), a court  should not also enhance the defendant's base

            offense level for the underlying crime of violence to account

            for the use of the firearm.   Id.; see also U.S.S.G.   3D1.1,
                                          ___  ___ ____

            comment. (n.1).

                      In this  case,  the  district  court  treated,  for

            sentencing purposes,  the conspiracy  to commit the  Alabama,

            Connecticut and Maine  bank robberies in  Count One as  three

            separate counts  of conspiracy  to commit the  three separate

            bank  robberies.  See U.S.S.G.   1B1.2(d) ("A conviction on a
                              ___

            count  charging a conspiracy to  commit more than one offense

            shall be treated as if the defendant  had been convicted on a

            separate  count  of  conspiracy  for each  offense  that  the

            defendant  conspired to  commit.").   Accordingly,  the court

            calculated a separate base  offense level for each conspiracy

            and then combined  these levels together to  produce a single

            total offense  level.  See U.S.S.G.   3D1.4.   In calculating
                                   ___

            the  separate base  offense  levels for  the conspiracies  to

            commit  the  Alabama  and  the  Connecticut  robberies,   the

            district  court -- in both  instances -- applied a five-level



                                         -37-
                                          37















            enhancement    for   brandishing   a   firearm.      U.S.S.G.

              2B3.1(b)(2)(C).  Because the   924(c) charge related to the

            Maine bank robbery, however, the district court did not apply

            the brandishing enhancement when calculating the base offense

            level for  that conspiracy.   See U.S.S.G.    2K2.4, comment.
                                          ___

            (n.2).

                      Hunter contends  that the  district court  erred in

            its calculation, contending that it should not have separated

            the Alabama and Connecticut  robberies from the Maine robbery

            in determining whether to apply the brandishing  enhancement.

            Hunter  argues that  Application Note  2  to    2K2.4 clearly

            states  that  where the     924(c)  sentence is  imposed  "in

            conjunction with  a sentence  for the underlying  offense" no

            enhancement may be applied, and, in this case, the underlying

            offense was collectively the  entire conspiracy to commit the

            three  bank  robberies.    Therefore,  Hunter concludes,  the

            district  court  should  not  have  applied  the  brandishing

            enhancement  to the  conspiracies to  commit the  Alabama and

            Connecticut  robberies   because  they   were  part  of   the

            "underlying offense."  We do not agree.

                      We decline  Hunter's invitation to read  the phrase

            "the underlying  offense" in  Application Note 2  to preclude

            the  application  of  the  brandishing  enhancements  to  the

            conspiracies to commit the Alabama and Connecticut robberies.

            First,   1B1.2(d) clearly  instructs the sentencing  court to



                                         -38-
                                          38















            treat  a  count  charging  a conspiracy  to  commit  multiple

            offenses as  separate counts  of conspiracy for  each offense

            the defendant conspired to commit.   U.S.S.G.   1B1.2(d); see
                                                                      ___

            also U.S.S.G.    3D1.2, comment.  (n.8).  Thus,  it is  clear
            ____

            that  the Sentencing  Commission does  not consider,  for the

            purposes of  applying the guidelines, a  conspiracy to commit

            multiple  offenses  as  constituting  one  single  integrated

            offense.

                      Moreover, the  district court's application  of the

            brandishing  enhancement does  not  undercut the  purposes of

            Note 2.   Application Note  2 is intended  to prevent  double

            counting.   See  U.S.S.G.    2K2.4,  comment. (backg'd)  ("To
                        ___

            avoid double counting, when a sentence under this section  is

            imposed  in conjunction  with  a sentence  for an  underlying

            offense, any specific offense characteristic for explosive or

            firearm  discharge,  use, or  possession  is  not applied  in

            respect to  such  underlying offense.").   In  this case,  no

            double counting occurred.  Hunter's conviction under   924(c)

            was  for using or carrying the firearm during and in relation

            to  the  Maine  robbery,  and the  district  court  carefully

            eschewed   applying   the   brandishing    enhancement   when

            calculating  the  offense level  for  Hunter's  conspiracy to

            commit  that  offense.   The  court  applied the  brandishing

            enhancement only when calculating the offense levels relating

            to the  Alabama and  Connecticut robberies.   Thus, the  same



                                         -39-
                                          39















            conduct  did  not unfairly  give  rise to  both  a sentencing

            enhancement and a separate mandatory sentence under 18 U.S.C.

              924(c).

                           b.  Consecutive or Concurrent Sentences
                           _______________________________________

                      In 1988,  Hunter pled  guilty in Connecticut  state

            court to possession  of cocaine with  intent to  sell.  As  a

            result, he  was sentenced  to a term  of ten  years in  state

            prison.  After serving three  years, the balance of  Hunter's

            sentence  was suspended  and he  was released on  three years

            probation.   Hunter was still on probation at the time of the

            Franklin   robbery.    Shortly  after  the  Franklin  robbery

            occurred,  an  order  charging   Hunter  with  violation   of

            probation was issued, and,  ultimately, on November 16, 1993,

            a  Connecticut state  court  revoked  Hunter's probation  and

            sentenced  him to  seven-years  imprisonment (apparently  the

            unexpired portion  of  his suspended  ten-year  sentence  for

            cocaine possession).  At the time of sentencing in this case,

            Hunter was  serving the  remainder of his  Connecticut prison

            term.

                      At Hunter's federal sentencing, the  district court

            ruled   that  his   entire   federal   sentence  should   run

            consecutively to his state sentence.  In so ruling, the court

            relied on U.S.S.G.   5G1.3(c), which provides that 

                      the  sentence  for  the  instant  offense
                      shall be imposed to run  consecutively to
                      the    prior    undischarged   term    of
                      imprisonment to the  extent necessary  to


                                         -40-
                                          40















                      achieve    a    reasonable    incremental
                      punishment for the instant offense.13

            The court  effectively held that, because  the state sentence

            stemmed not just from the underlying cocaine offense but also

            from the separate  probation violation, the federal  sentence

            should run consecutively  to the state  sentence in order  to

            insure the necessary incremental punishment.    




                                
            ____________________

            13.  The   district  court   correctly  ruled   that  neither
              5G1.3(a) or (b) governed  Hunter's sentencing.  In relevant
            part, U.S.S.G.   5G1.3 provides:
                         5G1.3 Imposition  of a  Sentence on  a Defendant
                               __________________________________________
                      Subject to an Undischarged Term of Imprisonment
                      _______________________________________________

                      (a) If the  instant offense was committed
                      while the defendant was serving a term of
                      imprisonment  (including  work   release,
                      furlough,  or  escape  status)  or  after
                      sentencing  for,  but  before  commencing
                      service  of,  such term  of imprisonment,
                      the  sentence  for  the  instant  offense
                      shall be imposed to run  consecutively to
                      the undischarged term of imprisonment.

                      (b) If subsection (a) does not apply, and
                      the  undischarged  term  of  imprisonment
                      resulted from offense(s)  that have  been
                      fully   taken   into   account   in   the
                      determination  of  the offense  level for
                      the instant offense, the sentence for the
                      instant  offense shall be  imposed to run
                      concurrently to the undischarged  term of
                      imprisonment.

                      (c) (Policy Statement) In any other case,
                      the  sentence  for  the  instant  offense
                      shall be imposed to run  consecutively to
                      the    prior    undischarged   term    of
                      imprisonment to the  extent necessary  to
                      achieve    a    reasonable    incremental
                      punishment for the instant offense.

                                         -41-
                                          41















                      On   appeal,  Hunter  contends  that,  in  applying

            subsection (c) and sentencing  Hunter to a wholly consecutive

            federal sentence, the district  court erred because it failed

            to  follow the  method outlined  in Application  Note 3  to  

            5G1.3 for calculating the appropriate incremental punishment.

            Note 3 provides that: 

                      [t]o  the  extent practicable,  the court
                      should consider  a reasonable incremental
                      penalty to be a sentence  for the instant
                      offense  that  results   in  a   combined
                                     _______   __  _   ________
                      sentence     of     imprisonment     that
                      ________     __     ____________     ____
                      approximates  the  total punishment  that
                      ____________  ___  _____ __________  ____
                      would  have  been  imposed  under   5G1.2
                      _____  ____  ____  _______  _____  ______
                      (Sentencing   on   Multiple   Counts   of
                      Conviction) had all of the  offenses been
                                  ___ ___ __ ___  ________ ____
                      federal offenses for which sentences were
                      _______ ________
                      being imposed at the same time.

            U.S.S.G.    5G1.3, comment. (n.3) (emphasis  added); see also
                                                                 ___ ____

            United States  v. Whiting,  28 F.3d  1296, 1210-11  (1st Cir.
            _____________     _______

            1994)  (plain error  for sentencing  court to  impose federal

            sentence  wholly  consecutive   to  state  sentence   without

            attempting to compute the proper equivalent total  punishment

            called  for by Note 3).   Thus, Hunter  contends that, before

            sentencing him to a wholly consecutive sentence, the district

            court  should  have calculated  the  sentence  he would  have

            received if the revocation of  probation and the instant bank

            robbery offenses  had all been federal offenses  for which he

            was sentenced at the same time.  We disagree.

                      First, as noted,   5G1.3(c) instructs the  district

            court,  in cases where it  applies, to sentence defendants to



                                         -42-
                                          42















            consecutive sentences  "to the extent necessary  to achieve a

            reasonable incremental punishment."  Then, Application Note 3

            prescribes   a  method   for   calculating  the   "reasonable

            incremental punishment" that we have recognized applies in "a

            good many of the cases likely to arise under subsection (c)."

            United  States v.  Gondek,  65 F.3d  1,  3 (1st  Cir.  1995).
            ______________     ______

            Implicit  in this  recognition,  however, is  the fact  that,

            although the method applies  in a "good many cases,"  it does

            not cover every case.   Indeed, as Application Note  3 itself

            explains, the methodology it  prescribes is intended only "to

            assist  the court  in determining the  appropriate sentence."

            U.S.S.G.    5G1.3, comment.  (n.3); cf. id.  (cautioning that
                                                ___ ___

            method   should   be   followed   only   "[t]o   the   extent

            practicable").    Therefore,  while  it  is  evident  that  a

            sentencing court should initially look to Note 3 for guidance

            in  calculating an  appropriate  incremental  punishment,  it

            nonetheless has discretion to follow a different  course in a

            small  number of  cases where  adherence to  Note 3  would be

            impracticable  and result  in  an  inappropriate  incremental

            punishment.   See, e.g.,  United States v.  Brassell, 49 F.3d
                          ___  ____   _____________     ________

            274, 278 (7th Cir. 1995) (court has discretion in appropriate

            circumstances to disregard  methodology outlined in Note  3),

            United States v. Torrez 40 F.3d 84, 87 (5th Cir. 1994)(same).
            _____________    ______

                      In this  case, the district  court did  not err  by

            following  a different course.   First, it is  far from clear



                                         -43-
                                          43















            how, and if, Application Note 3 applies to the  facts of this

            case.   None of the four detailed examples outlined in Note 3

            explain how to sentence a defendant who is serving out a term

            following the revocation of probation.  See U.S.S.G.   5G1.3,
                                                    ___

            comment.  (n.3).  Moreover, the text of Note 3 instructs that

            the incremental punishment should  be calculated according to

            the grouping rules set forth in   5G1.2.  Section 5G1.2  (and

            the  other sections to  which it  refers), however,  does not

            discuss  how  to  handle  a  sentenced  imposed  following  a

            probation revocation.   The guidelines  do discuss  sentences

            imposed  for probation  violations separately  under U.S.S.G.

            Ch. 7.  Significantly, Application Note 5 to U.S.S.G.   7B1.3

            instructs that 

                      it  is  the  Commission's  recommendation
                      that any sentence  of imprisonment for  a
                      criminal  offense  that is  imposed after
                      revocation  of  probation  or  supervised
                      released be run consecutively to any term
                                                       ___ ____
                      of imprisonment imposed upon revocation.
                      __ ____________

            U.S.S.G.     7B1.3,  comment.  (n.5) (emphasis  added).    If

            anything, Note  5 suggests  that the  course followed  by the

            district  court, imposing a  wholly consecutive sentence, was

            correct.    See Torrez,  40  F.3d  at  87-88  (Section  7B1.3
                        ___ ______

            suggests that -- as in this case -- notwithstanding Note 3 to

              5G1.3,  imposition of wholly consecutive  sentence would be

            appropriate in case involving a probation revocation).

                      Furthermore,  Application Note  3 fails  to explain

            whether,  in a  situation like  the present,  a court  should


                                         -44-
                                          44















            consider the underlying state drug  conviction in calculating

            the  equivalent federal  sentence.   In his  argument, Hunter

            ignores the underlying drug possession and contends that Note

            3 requires  the court to combine only  the guideline sentence

            for federal  probation revocation with the guideline sentence

            for  the instant  bank  robbery charges.   Such  an approach,

            however, fails to  account for the  fact that, in  sentencing

            Hunter  to the  unexpired portion  of his  suspended ten-year

            drug  sentence,  the state  court  arguably  aimed to  punish

            Hunter for  both the  probation violation and  the underlying

            cocaine  possession.   Cf. United  States v.  Gullickson, 981
                                   ___ ______________     __________

            F.2d  344,  346-47  (8th Cir.  1992)  (instructing sentencing

            court  to calculate  appropriate  incremental  punishment  by

            estimating equivalent federal sentence  for state forgery and

            other  offenses  and combining  that  with  the sentence  for

            instant  federal  offense where  defendant,  at  the time  of

            sentencing,  was   serving   state  prison   term   following

            revocation of probation imposed for state forgery conviction;

            court notably  did not instruct sentencing  court to estimate

            federal penalty for probation violation).

                      Finally, we  note that Hunter's case  is unlike the

            usual situation governed by   5G1.3(c), in which the offenses

            supporting the separate sentences arise from related conduct.

            See Gondek, 65 F.3d at 3.   In such cases (e.g., a state drug
            ___ ______                                 ____

            charge and  a related  federal  firearms charge),  sentencing



                                         -45-
                                          45















            according to  the grouping rules as  suggested by Application

            Note 3  makes much sense.   In other words,  when the federal

            sentence arises from conduct or acts directly related to that

            on which  the state  sentence  is based,  application of  the

            guidelines'  grouping rules accords  with fairness principles

            inherent in the guidelines by "limit[ing] the significance of

            the formal charging  decision and . . . prevent[ing] multiple

            punishment  for  substantially  identical  offense  conduct."

            U.S.S.G. Ch.3  Pt.D,  intro. comment.    Hunter's  situation,

            however, is different.   The federal bank robbery convictions

            arise  from  conduct  completely  unrelated  to  the  cocaine

            possession that lies at the heart of the state  sentence.  In

            cases like Hunter's, where the acts or conduct giving rise to

            the  different   sentences  are  not  closely   related,  the

            rationale of  the guidelines' grouping rules  does not apply.

            Indeed, Hunter's situation  is more "closely akin to the case

            of the defendant  who commits  a new offense  while still  in

            prison,  the very  situation in  which [U.S.S.G.    5G1.3(a)]

            instructs   that   the  new   sentence   is   to  be   served

            consecutively."  Gondek, 65 F.3d at 3.  
                             ______

                      Accordingly, we do not  believe that the method for

            calculating a "reasonable incremental  punishment" prescribed

            in  Application Note 3  clearly addresses Hunter's situation.

            In  short, it would not  have been "practicable"  in light of

            the inconsistencies outlined above  for the district court to



                                         -46-
                                          46















            have attempted to follow Note 3, and, thus, it did not err in

            failing to  do so.    Moreover, we  do  not think  the  court

            otherwise  abused its  discretion in  sentencing Hunter  to a

            wholly consecutive  federal sentence.    The court  carefully

            considered the circumstances of this case and determined that

            such a sentence was necessary in order to insure a reasonable

            incremental punishment for the federal bank robbery charges.

                      Furthermore, we believe the Sentencing Commission's

            adoption  in 1993 of Application  Note 4 to  U.S.S.G.   5G1.3

            implicitly  supports  this  conclusion.   In  cases  where  a

            defendant has committed a federal offense while on probation,

            Note  4 expressly  limits  a district  court's discretion  in

            determining  a reasonable incremental punishment by providing

            that  the court must order the entire federal sentence to run

            consecutively  to  any sentence  imposed  upon  revocation of

            probation.     See  U.S.S.G.      5G1.3,   comment.  (n.4).14
                           ___

                                
            ____________________

            14.  In  order  to  avoid  any ex  post  facto  concerns, the
                                           __  ____  _____
            district court expressly declined to rely on Application Note
            4, enacted  November 1, 1993  (prior to sentencing  but after
            the underlying criminal acts), which provides:

                      4.   If the  defendant was on  federal or
                      state  probation,  parole, or  supervised
                      release   at  the  time  of  the  instant
                      offense,  and  has  had  such  probation,
                      parole,  or  supervised release  revoked,
                      the  sentence  for  the  instant  offense
                      should   be   imposed   to    be   served
                      consecutively to the term imposed for the
                      violation  of    probation,   parole,  or
                      supervised release in order to provide an
                      incremental penalty for the  violation of
                      probation, parole,  or supervised release

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                                          47















            Significantly, the  Sentencing Commission  added Note 4  to  

            5G1.3 without altering in any way the language of Application

            Note  3.    Thus,  in doing  so,  the  Commission  implicitly

            recognized  that,  prior  to  the  adoption  of  Note  4,   a

            sentencing  court at  the very  least had  the discretion  in

            cases  like Hunter's  (e.g., probation  revocation cases)  to
                                   ____

            ignore the methodology set forth in Note 3 and order a wholly

            consecutive sentence.

                      3.  McCarthy's Sentencing Issue
                      _______________________________

                      Finally, McCarthy challenges  the district  court's

            use of his seven  prior state attempted-murder convictions as

            a  single predicate  offense  in determining  whether he  was

            subject to sentencing  as an armed  career criminal under  18

            U.S.C.  924(e).   McCarthy contends  that the  district court

            should not  have considered the  attempted-murder convictions

            because they arose out of the same incident that gave rise to












                                
            ____________________

                      (in accord  with the policy  expressed in
                        7B1.3 and 7B1.4).

            U.S.S.G.      5G1.3,  comment.  (n.4).     We  also  find  it
            unnecessary to rely  on Note  4, and, thus,  do not  consider
            whether it poses any significant ex post facto concerns.
                                             __ ____ _____

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                                          48















            a  "non-qualifying" bank  larceny  conviction.15   We do  not

            agree. 

                      As  the government  explains, the  sentencing court

            did not count the larceny conviction as a separate  predicate

            offense, but  instead counted only the state attempted-murder

            convictions (and  the court counted  those only  as a  single

            predicate  offense).    Thus,  the  district  court  did  not

            consider an arguably non-qualifying predicate  offense (i.e.,

            the bank larceny conviction) in determining whether it should

            sentence McCarthy  as an  armed career criminal.   McCarthy's

            implicit contention  that, whenever  the  same conduct  gives

            rise  to both  qualifying and  non-qualifying  convictions, a

            sentencing court may consider  neither in determining whether

            defendant qualifies as an armed career criminal is completely

            without logic or support.   Accordingly, McCarthy's complaint

            lacks merit.

                                         III.
                                         III.
                                         ____

                                      Conclusion
                                      Conclusion
                                      __________

                      For the foregoing reasons, we affirm.
                                                    affirm



                                
            ____________________

            15.  18  U.S.C.     924(e)  provides,  inter  alia,  that  an
                                                   _____  ____
            individual shall be sentenced as an armed  career criminal if
            he  or  she  has  violated  18  U.S.C.     922(g)   (unlawful
            possession of  a firearm) and has  three previous convictions
            by  any court for a  violent felony, serious  drug offense or
            both, committed on occasions different from  one another.  In
            this case,  the district  court held that  McCarthy's federal
            bank  larceny conviction did not qualify as a violent felony.
            We have no need to review that decision.

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